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EXHIBIT l

 

Case 2:16-cV-00601/-.]AD-CWH Document 1-2 Filed 03/17/16

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Page 2 of 24

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EXHIBIT 2

Case 2:16-cV-00601-.]AD-CWH Document 1-2 Filed 03/17/16 Page 4 of 24

 

 

 

 

Walls Fargo Auto Finam:e. Im.'.
M_AC F&SBZ-OBO
W 2501 $eapart Drlve,$ulte BH-300
UBD@ chener. pennsylvan\a 19013-1510
610 595-5300
CORRECTION N TIC
Augusc 21, 2006
CARLOS GARCIA
7288 QUARTER HORSE LN
LAS 'VEGAS', NV 89148
RE: CONTRACT DATE: 7/21/2006 50237403214799001

VEHICLE: 2006 CHEVROLBT
SERIAL #: 2G.1WBSSK5694244_51
ACCOUNT #: 5023 74032] 4799001

Dear: .CARLOS GARCIA

Weloome to Wells Fergo Auto Financel While reviewing your retail installment contract
(“Contrao_t") We discovered that the Annual 'P.eccentage Rate (‘FAPR“) was overstated
This letter serves as your notice of eorreetion, and informs you that your obligation has
changed.':' The APR on your Contract has been lowered which has the corresponding
effect of lowering your Finance Charge, monthly payments, and Total Payments as more
fully described below.

New A-=..P.RI = 1-6._30%

New Monthly Payment =‘ $ 473.78
New Flnar\ce;Charge = $12,854.32
New To`tal ofPayments =' $34,1 12.16
New Total Sales Prioe '-“‘ 340',112.16'

Except as expressly modified by this letter, all other provisions of your Contract remain
unchanged and in full force and effect P\ease keep a copy of this letter with your copy
of your Contract.

We appreciate your business, and if you have any questions, please do not hesitate to call
1~800-559-355?, Monclay through Fr~iday between 7AM and SPM PS'I`,_ and Suturdays
between 8AM and 4PM PST.

(TDD: Please use relay service).

S’mcerely,

WELLS FARGO AUTO FINANCE (NW

 

APR.DOC Wells Fargo Conr'lclentlal 080‘72006 _
REV. mm § l

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EXHIBIT 3

Case 2:16-cV-00601-.]AD-CWH Document 1-2 Filed 03/17/16 Page 6 of 24

 

I
We/Js Fsrgo
711 W. Braso‘wsy
Tempe, AZ v8528}?
2961 MB o-_Ssz moong 3 m 2 D.ste of Notice: 08/31/2009

Car|os Garcla
65 Vll|ls Rd Apl 1415 y
Greensvllle, SC 29615-3055

NOTICE OF RIGHT TO CU'RE DEFAULT

Creditor: Wcils Fnrgn Bsnlr
(Plesse send payment to address below)

RE: Your installment loan obligation owed to Wells Fargo with Account # 502-374-0321479~9001

Yon ere late in making your paymont(s]. lt` you pay the Amnunt No\‘\\r Due (below) by the Last Date for Psymcnt
(below) you may continue with the contract as though you were not late. It` you do not pay by this date, Wells Fargo
may exercise its rights under the lew.

Your default consists oi` your failure to make the following payment(s):
Scheduled payment(s) in the total amount of $1,303.69
Pl_us accumulated late charge(s) of $120.00

For a total Amount Now Due of` $1,423./69

\

Last Date for Pay,ment: 09/20/2009

P|onse send the Amount Now Due to:

" Wel]s Fargo Bnnk
Attn: Collectiuns
711. W. Broadway
Tempe, AZ 85282

lt'you do not correct your default by the Last Date for Paymcnt (above), Wells Ifsrgo may accelerate your credit
obligation and exercise its rights and remedies against you us permitted under applicable law. These rights include
the right to repossess any property held ss collateral for this obligation and the right, in many instances, to hold
you personally responsible ibt any difference between the amount the property brings in a sole and the balance due
Wells Fargo on the credit obligation in question. If` you default on this credit obligation again, Wells Fargo may
exercise its rights without sending you another notice like this one.

As you know, you previously signed a contract in which you agreed to make payments according to a speciEc
payment schedulel This letter also serves as notice to you that We|ls Fergo expects you to strictly comply with each
end every term of the contract

If you have any questions, please call 1-800-288-0766 (TDD: please use relay service).

Sincerely,

L'I`Rl 74

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EXHIBIT 4

 

 

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WELLS Wells Fergo

2501 SeapDrt Drive BH 300
Chesler, PA 19013

`FA l'{.(i ()

10/28/2 009
11 1 SP O.MO nonorssr 1 11 1
Carlos L Garcia
2550 White Horse Rd

Gree'neville, SC 29617

WELLS FARGO
NOT|CE OF OUR PLAN TO SELL PROFERTY

Subject: 502-374-03214'-79-9001

We have your 06 Chevrole lmpala, Serial No. 2G1WB58K569424451 because you broke promises in our
agreement

We will sell your 06 Chevrole lmpaia, Serial No, 2G lWBSSK569424451 at a private sale sometime after
11!09f2009. A sale could include a lease or a licensel

The money that we get from the sale (al"ter paying our costs) will reduce the amount you owe. Ii` we get
less money than you owe, you will still owe us the diiii"etence. If we get more money than you owe, you
will get the extra '-money, unless we must pay it to someone else.

You can get the property back at any time before we sell il by paying us the full amount you owe (not just
the past due payments), including our expenses- 'I`o learn the exact amount you must pay, call us at
866-262-9153 (TDD: Please use relay service) or write us at Wells Fargo,2501 Seaport Drive BH
300,Chester,PA,19013.

It` you want us to explain to you in writing how we have figured the amount that you owe us, you may call
us at 866-262-9153 or write us at Wells Fargo,ZSOl Seaport Drive BH 300,Chester,PA,l9013 and request
a written explanation

If you need more'information about the sale, call us at 866-262-9153 or write us at Wells Fargo,ZSOl
Seaport Drive BH 300,Chester,PA, 19013.

We are sending this notice to the following other people who have au interest in the 06 Chevrole lmpala,
Serial 'No. 2G1WB`58K5694244'51 or who owe money under your agreement .

You can reclaim any personal property contained in the 06 Chevrole Iinpala, Serial No.
261'WB58K569424451 al the lime of repossession by calling our office and making an appointment to
pick it up. If you do not pick up such personal property within thirty (30) days from the date of this
Notice, it will he considered unwanted and abandoned and it will be disposed of without further notice

Some states have laws which require us to inform you that this communication is an attempt to collect a debt and
any information obtained will be used for that purpose y

 

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Case 2:16-cv-00601-.]AD-CWH Document 1-2 Filed 03/17/16 Page 9 of 24

WELLS

.. . WeIls Fargo
FAR(*O 2601 Seaporf Dr)'ve BH 300
Choster, PA 19013

3141 MB u.ssz woman 3 314 1 110 2/2009
Car|os L Garcla

65 villa Rd Apt 1415

Greansville, SC 29615-3055

WELLS FARGO
NOTlCE OF OUR PLAN TO SELL PROPERTY

Subject: 502-374'-0321479-9001

We have your 06 Chevrole lmpala, Serial No. 2G1WB58K569424451 because you broke promises in our
agreement

We will sell your`06 Chevrole Impala, Serial No. 2G1WB58K569424451 at a private sale sometime alter
11/24/2009. A sale could include a lease or a license

The money that We get from the sale (after paying our costs) will reduce the amount you owe. lf we get
less money than you owe, you will still owe us the difference Ifwe get more money than you owe, you
will get the extra money, unless we must pay it to someone else.

You can get the property back at any time before we sell it by paying us the full amount you owe (not just
the past due payments), including our expenses To learn the exact amount you must pay, call us at
866-262-9153 (TDD: Please use relay service) or write us at Wells Fargo, 2501 Seaport Drive BH 300,
Chester, PA 19013.

lf you want us to explain to you in Writing how we have figured the amount that you owe us, you may call
us at 866-262-9153 or write us at Wells Fargo, 2501 Seaport Drive BH 300, Chester, PA 19013 and
request a written explanation

If you need morei information about the sale, call us at 866-262-9153 or write us at Wells Fargo, 2501
Seaport Drive BH 300, Chester, PA 19013.

Wc are sending this notice to the following other people who have an interest in the 06 Chevrole Impala,
Serial No. 2G1WB58K569424451 or who owe money under your agreement .

You can reclaim any personal property contained in the 06 Chevrole lmpala, Serial No.
ZGIWB58K569424451 at the time of repossession by calling our office and maleng an appointment to
pick it up. If you do not pick up Such personal property Withi_n thirty (30) days from the date of this
Notice, it will be considered unwanted and abandoned and it will be disposed of without fln'ther notice.

Some states have laws Which require us to inform you that this communication is an attempt to collect a debt and
any information obtained will be used for that purpose.

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EXHIBIT 5

 

Case 2:16-cV-00601-.]AD-CWH Document 1-2 Filed 03_/17/16 Page 11 of 24

December 3, 2009
Carlos Garcia

65 Villa Rd
Greensville, SC 29615

RE: Sale ofRepossessed Propert§n 06 CHEVROLE IMPALA
VIN: 2G1WB58K569424451
Account # 502-`374-03214799001 at Wells Fargo Bank, N.A. of
South Carolina("Wells Fargo")

Dear Carlos Garcia:

Consistent with our previous notice to you, Wei]s Fargo has sold the repossessed property described above at
a private saie on Dccember l, 2009. `

A&er applying the proceeds ii'om the sale of this repossessed property to your account (described above)_ a
Dei'iciency Baiance Due remains owing, as shown in the following explanation as of the date of this letter:

A. Aggregate Amount of Obligations Secured $16,142.07
(inciudes' current principal balance due,
accrued interest, late fees and charges,
less rebate of unearned interest or
credit service charge, if any)

B. Proceeds ii'orn Disposition/Sale $6,800.00

C. Aggregate Obligations Secured Aiter $9,342.07
Applying Proceeds (“A" minus "B")

D. Costs of Repossession, Storage, $1,049.19
Preperation, Sale and Attoroey’s Fees/ Legal Expenses

E, credits hot included in "A“ $1,116.20

F. Deficiency Balence Due $9,275 .06*

(|lcll Plus ule minus \lEll)

*Ftiture debits, credits, charges, including additional credit service charges or interest, rebates, and expenses
may aEect the amount of the Balance Due.

Re: Account # 502-374-03214799001
Please contact our office within ten (10) days to make satisfactory arrangements to pay this Der”lciency
Ba.lance Due. If satisfactory arrangements are not made within that time, we may pursue legal action to recover this
Deiiciency Balance Due.

Any payment,_ notice or inquiry should be directed to:

Weli_s ]i~‘argo Auto Finance

Asset Recovery Group

1460' Northwest Vivion Road,Eastbrook Park
Kans'as City, Mo 64118

Telephone: 8'00-284-0692

117 YOU HAVE RECEIVED A DISCI-IARGE OF TI'HS DEBT IN BANKRUPTCY OR ARE CURRENTLY
lN A BANKRUPTCY CASE, Ti-IE PRECEDING NOTICE IS NOT [NTENDED AS AN ATTEMPT TO
COLLECT A DEB”_i`. THIS COMPANY HAS A SECURITY INTEREST IN THE ABOVE DESCRIBED
PROPERTY THAT` CONTINUES EVEN AFTER TI-IE BANKR.UPTCY DISCHARGE. THIS NOTICE IS GIVEN
ONLY FOR THE. PURPOSE OF COMPLYING WITH Tl-IE, REQUIREMENTS OF `STATE' LAW REGARD[NG
REPOSSESSION OF COLLATERAL, AND SHOULD NOT BE CONSTRUED AS A DEMAND FOR
PAYMENT.

Some state laws require us to inform you that this communication is an attempt to collect a debt and that any
information obtained Will be used for that purpose

 

Case 2:16-cV-00601-.]AD-CWH Document 1-2 Filed 03/17/16 Page 12 of 24

STATEM ENT OF ACCOUNT

Debtor Name(s):

Wel|s Fargo Bank. N._A.

/Origina| Account Number:

Date Activlty Credit
1211/2009 Sale of Co||atera| $6,800.00
Other Fees

P-re-Gharge-Off |nterest at 16.8`%

12/04/2009 Tota|at Char e-O

Post-Gharge-Ott |nterest a116.8%

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$834.00

$649.80

$9,522.02

$6,781 .99

$0.00

$16,304.01

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Case 2:16-cV-00601-.]AD-CWH Document 1-2 Filed 03/17/16 Page 13 of 24

' EXHIBIT 6

 

Case 2:16-cV-00601.-.]AD-CWH Documeot 1-2 Filed 03`/17/16 Fage 14 of 24

JUSTICE COURT, LAS VEGAS TOWNSHIP
Clark Counlyr Novatla

 

 

 

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Autovest LLC, Plaintift`(s) l ;=-;3_:§-:-;.-;.=;=,‘.' t,=§;g . .
vs. ) CASB NO.: 15C005404
Cnrlos Efrain Leonel Garcia, Defendant(s) ) jC DEpARTMB_NT 5
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NOTICE: YOU HAVE BEEN SUED. THF COURT MAY DECIDE AGAINST Y()U WITHOUT YOUR BEING
H_EARD UNLESS YOU RESPOND WITHlN 20 DAYS.l READ THE INFORMATION BELOW.

TO THE ABOVE-NAMED DEFENDANT: You are hereby summoned and required lo serve upon Plaintiff’s attorney,
whose address is set forth below, an Answer to the Complaint Which is herewith served upon you, within 20 days after
service of this Sunmlons upon you, exclusive of the day of service If you fail to do so, judgment by default Wil] be taken
against you for the relief demanded in the Complaint.Z

 

* If you intend to defend this lawsuit, within 20 days after this Summons is served on you, exclusive of
the day of scrvice, you must do the following:
a. File with the Clerk of the Court, whose address is shown below, a formal written response (Answer) to the
Complaint in accordance with the rules of the Court_ A $71.00 filing fee is required, or you must file an Application to
Proceed In Forma Paupert's and request a waiver of the fee. (You may obtain forms and information at the Civil Law
Self-Help Center located in the Regional Justice Center or at its website. at til,tp::“»".vww.c§v'§l.lav.=sel.iheEpt;t:-nter_orof.)
b. Serve a copy of your response upon the attomey whose name and address is shown below.
* UnlcsS you rcspond, youn default will be entered upon application of the Plaintiff, and this Court may enter a judgment
against you for the relief demanded, which could result in the taking of money or property or other relief
* If you intend to seek the advice of an attomcy, you should do so promptly so that your response will be timely.

 

    

 

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By:

Stephen R Kopolow # 8533 Regional Justicc Center
8020 W Sahara AVE STE 225 200 Lewis Avenue

Las Vegas NV 89117 PO Box 552511
702-551-8600 Las Vegas, NV 89155-2511

 

Attorney Name, Address and Phone

APPROPR[ATE CQ(JRTROOM:ATT!RE AND SHOES AR.E REQUIRED. NO SHORTS, HAI.TER TOPS, TANK TOPS, FOOT) OR DRI.NK ARF. P.ERMITTED.

 

 

l Notwithstanding the above, the State of Nevada, its political subdivisions, agencies ofl'icers, employees board members,
commission members, and\]egislators, each have 45 days after service of this Summons within which to file an Answer to the
Complaint.

2 When service of the Summons is made by publication, the Summon.s shall, in addition to any special statutory requirements, also
contain a brief statcment of thc object of thc action substantially as follows: “This action is brought to rccovcr ajudgmcnt for thc sum
of(indicate dollar amount), due and owing, “ or as the case may be. (JCRCP4(b)).

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STEPHEN R. KOPOLOW, P.C.

Stephen R, Kopolow, Esq.

Nevada Bar No. 8533

8020 W. Sahara Ave. Su.ite 225

Las Vegas, NV 89117
66~933-7087_

Attorney for Plaintiff

ibaldovinos@lcopolowlaw.oom

CLARK COUNTY, NEVADA
l
AUToVEST LLC, )
) 150005404
Plaintiff, ) Case Number:
) Dept, NO,; Depariment #l LVJC 6
vs. )
3
CARLos cream LEONEL GARclA, an ) Date of Hearing: N/A
individual, DOES I through X, inclusive, § Time of I-Iearing: N/A
Defendant($) §
)

Las Vegas Jusl ce Court
E|ectroni :a|ly Filed
3/20/2015 9.' 7:50 ANI
Joe E.olieventu re
CLERK OF T|iE COUR`I

IN THE JUSTIC'E COURT, LAS VEGAS TOWNSHIP

 

 

LEONEL GARCIA , hereinafter “Defendant” as folloWs:

_<:QMPLAINT

AUTOVEST LLC, hereinafter “Plaintifi” complains and alleges CARLOS EFRAIN

l. That all times relevant hereby Plaintiff was and is a limited liability corporation
organized under the laws of Michigan.

2. That Defendant, CARLOS EFRAIN LEONEL GARCIA is a resident of LAS
VEGAS, Clark County, Nevada.

3. That the true names and capacities, whether individual, colporate, associate or
otherwise, of Defendant named herein as DOES l through X, inclusive are

unknown to Plaintiii` Who, therefore, sues said Defendants by such fictitious names

l

 

Case Number: 15C005404

 

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Case 2:16-cV-00601-.]AD-CWH Document 1-2 Filed 03/17/16 Page 16 of 24

Las Vegas Just
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3/20/2015 91

CLERK OF T|

STEPHEN R. KOPOLOW, P.C.
Stephen R. Kopolow, Esq.

Nevada Bar No. 8533

8020 W. Sahara Ave. Suite 225
Las chas, NV 89117
866-933-708,7

Attomey for Plaintiff
jbaldovinos@kopolowlaw.com

IN THE JUSTICE COURT, LAS VEGAS TOWNSHIP

CLARK COUNTY, NEVADA
1
AUTOVES:T LLC, )
) 150005.404
Plajntiff, ) Case Number:
) Dept,No,; Department #: LVJC 6
vs. )
3
CARLOS EFRAIN LEONEL GARClA, an ) Date of Hearing: N/A
individual, DoEs 1 through X, inclusive, § Time of Hearing: N/A
Defendant(s) §
)

 

COMPLAIN'I`
AUTOVEST LLC, hereinafter “Plaintifl” complains and alleges CARLOS EFRAIN

LEONEL GARClA , hereinafter “Defen_dant” as follows:

l. n That all times relevant hereby Plaintiff was and is a limited liability corporation
organized under the laws of Michigan.

2. That Defendant, CARLOS EFRAIN LEONEL GARCLA is a resident of LAS
VEGAS, Clark County, Nevada.

3. That the true names and capacities, whether individual, corporate, associate or
otherwise, of Defendant named herein as DOES l through X, inclusive are

unknown to Plaintiff who, therefore, sues said Defendants by such fictitious names

 

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Joe Bonaventure

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Case Number; 15C005404

 

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and Plaintiff will ask leave to amend this Complaint to show their true names and
capacities When the same have been ascertained Plaintiff believes that each
Defendant(s‘_) may be responsible in some manner for the events herein referred to
and caused damages proximately thereby to Plaintiff alleged herein.
Plaintiff is informed and thereupon alleges that at all times relevant hereto, each of
the Defendants was the principal, agent, employee, co-conspirator, each of all the
others, and at times mentioned herein were acting Within the course and scope of
such relationships

FACTS
Defendant entered into a Ret_ail hista]lment Sale Contract and Security Agreement
(Simple interest dated (“the Contract”).
The Defendant completed a Credit Application in order to obtain financing for the
Vehicle.
Defendant defaulted on the obligation to make payments due under the Contract
Upon Defendant’s default under the Contract WELLS FARGO BANK N.A. gave
all notices required by the Contract and applicable law, properly accelerated the
balance of principal and accrued and unpaid interest, and demanded payment from
Defendant; however, Defendant did not pay the balance due.
Pursuant to the Contract and applicable state law, WELLS FARGO BANK N.A.
took possession of the collateral securing the debt, and disposed of it in a
commercially reasonable manner on 12/01/2009 after first giving all notices
required by the Contract and applicable laW.

After applying the net proceeds of the sale to the debt, a deficiency balance of

 

 

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11.

12. `

13.

$9,522.02 remains due and owing to Plaintiff,
Through its attorneys Plaintiff has demanded that Defendant pay the deficiency
balance, but Defendant did not do so. Plaintiff seeks judgment for the deficiency
balance, together with all applicable interest charges and attorney’s fees
Through its undersigned attorney Plainti&` has demanded payment from Defendant,
but Defendant has not satisfied such demand. Plaintift` has performed all
conditions precedent to the filing of this action, or all such conditions precedent
have occurred

ATTORN`EY’S FEES
Pursuant to the terms of the Contract, applicable state law and Nevada Rules of
Civil Procedure, Plaintiff is entitled to recover reasonable attorney’s fees and court

costs for the pursuit of this action.

WI-[EREFORE, Plaintiff prays as follows:

a.

A Judgment in the amount of $9,522.02 the deficiency together With post-
judgment interest at the maximum lawful rate from the date of judgment,
until paid in full;

For judgment on the interest that has accrued since the Plaintiff purchased the

obligation in the amount of $7,439.19 or as proven at trial;

For a Judglnent for the costs incurred as a result of filing this action;

 

 

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d. For a Judgment in the amount of $1500.00 for reasonable attorney’s fees;
e. For such other and further relief as this Court may deem to be just and proper in
the premises
DATED this 17“‘ day of March, 2015
S P EN R. KOPOLOW, P.C.

 

1 /
’Stephen R. Kopolow, Esq.
Nevada Bar No. 8533
8020 W. Sahara Ave, Suite 225
Las Vegas, NV 89117
866-933 -7087
Attorney for Plaintiff

 

 

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EXHIBIT 7

 

 

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sEchoN' A:
Buyer's/Name(s): CFtED|TOFt:
Name: Address:
Address: City: County:
City: County: State: Zip:
State: Zip: Phone: ( )
Bus. Phone: ( ) Res. Phone: ( )
Stock No. Sa|esman Date
SECT|ON B: D|SCLOSURE MADE lN COMPL|ANCE WITH FEDERAL TRUTH-=|N-LEND!NG ACT
Your payment schedule Wil| be:
ANNUA|_ Number of Payments Am'ount of Payments When Payments Are Due
PERCENTAGE The cost of your
RATE credit as a yearly rate:
%
FlNANCE lNSlJBAN§E: Credit life insurance. credit disability insurance and debt cancellation int means an estimate
CHARGE The dollar amount coverage, Which is also known as GAP coverage, are not required to obtain credit, and Wi|| not be provided
the credit Wi|| cost you: unless you sign and agree to pay the additional cost.
$ Type Premium Term Signature(s)
Credit life: l want credit life
insurance:
Amount The amount of credit _ _ $ _ _ S|GNATUHE(S)
Financed provided to you or on .lolnt credit We want joint _
your bena,f; life: $ credit life insurance KW
$ Credit disability: l want credit
$ disability insurance: nnnnn,nns]
Tota| Of The amount you Wi" Credit life | want credit life and
pa ments have paid after you and diSabi|ify! $ disability insurance: W_., MWHE{
y have made all pay- _ _ _ W tv i t nn
merits as scheduled: JO'm gredli_l'fe lif:;nadns|iggr;ecm
$ and d'Sab'|'ty: $ disabiiity insurance: KW§__§ 1
Debt canc(e(l:l:t|i:on | Want debt cancellation
coverage cove c x
;O.tal Sa|es The total Cost Of COVe'-age) $ (GAF O'Ve|'age) slngUP,E!S!
F|Ce §péic\f‘ipurrlg?:dsi: on You may obtain property insurance from anyone you want that is acceptable to the Creditor above. If you get
your down pay?nem the insurance from the Creditor you Wil| pay $ and the term of the
Of $ ‘ insurancel Wi|l be _ .
$ Security: You are giving a security interest in the goods or property being purchased
mother (oheck if applicable
Flling:tce $ . Nonflling insurance $ _ .
Lale hargs: ll a payment is more than 10 days lats. you will be charged $15 or 8 percent of the paymentl whichever ls less.
Prepaymsnt: lt you pay ott ear|y, you Wi|| not have to pay a penalty.
See your contract documents for any additional information about nonpayment default any required repayment in tull before the scheduled date, and penalties

 

 

SECTION D: VEHICLE RETA|L lNSTALLMENT CONTRACT

SECT|ON C: lTEMlZATlON OF AMOUNT FlNANCED

 

 

 

 

 

AND SECUR|TY AGREEMENT _ _ _
1. Vehlcle Sel|ing Prlce _______________________ $
This contract is made the (day) of (month) P|us: Documentary Fees ............ $
)f_(year), between you, the Buyer(s) shown above, and us, the Sel|er shown plus._ Emission inspection Fee $
as Creditor above. Having been quoted a cash price and a credit price and having _ $
chosen to pay the credit price (shown as the Tota| Sales Price in Section B above), P|us' Other( i
you agree to buy and We agree to sel|, subject to all the terms of this contract, the P|us: Other( )$
"o||owing described vehicle, accessories and equipment (a|l ot which are referred to Taxab|e Se"ing price _______________________________________ $
n this contract as “Co||ateral”): """"
2. Tota| Sales Tax .......................................................... $
New.or Used: Year and Make: 3. Amounts Paid to Pub|ic Ot'ficia|s
a. Tit|ing Fee .............................. $
Se`ries: Body Sty|e: No. Cy|.: b. Registration Fee ...................... $
c. Other( ) $
lt truck, ton capacity: TOTAL OFF|C|AL FEES (Add 3a through 30) ...........$

 

l\/lanufacturer’s Seria| Number:

 

Use for which purchased: i:l Personal m Business l:l Agricu|ture
INCLUDINGZ

:| Sun/Moon Roof \:| Air Conditioning [:| Automatio Transmission
:| Power Steering |:| Power Door Locks m Power Seats

:| Power Windows |:] Ti|t Wheel |___I Viny| Top

:| Cassette l:| Cruise Contro| l:| AM/FI\/l Stereo

:l Compact Disc Player

4. Plus Other Charges
a. Extended Service Contract* _. $

 

 

 

b. Driveaway Permit . . .. . .$ ,
c. Other( ] $
d. Other( ) $

Tota| OTHEFl CHARGES (Add 4a through 4d) ___________ $
5. Tota| Cash Sa|es Price (Add 1 through 4) .................. $
6. Gross Trade-ln A||owance ............. $

DC'§B.B_. .-._ -W.EE.____ VGUE'E-_¢

 

 

 

use ror wnicn purcnasec:i__| r-'ersonai i_J business d r-\gricuiture b. L)riveaway i-'ermit _, __=I>
"`v!CLUD'NG? 2216-CV_-OOGOl-.]AD-CWH DO_CUI'Ti€ii'[ 1-€20"§"€£1_(.'13/17115_|?}3_§.&210]°_24_
|:| Sun/l\/icon Fioof Air Conditioning .utomatic Transmission d' Other ( ) $
Cl Power St@e"ng El Power DOOF '-OC'<S Li Power Seais Total oTi-iEFi ci-iAnG.Es (Add 4a through 4d) __ $
L__i P°Wer Windows |:| Ti" Whee' i:| V"W' T°p 5. Torai cash sales Price (Add 1 through 4) .. ..$
[]Cassette E| Cruise Control m AM/FM Stereo 6_ GrOSS Trade_|n Allowance ____________ $
[:| Compact Disc Player
YEAi=i iviAKE ooEL
lVlinus: Payof'f Baiance .... .. _..___.._$
Color Tires Lic. No. Net Trade-in Allowance .. . .. .. .. . $

 

 

You, severally and jointly, promise to pay us the Total of Payments (shown in
Section B above) according to the Payment Scheduie (aiso shown in Section B

7. Down Payment (Other Than Net Trade-ln Allowance):
a. Trade-ln Sales Tax Credit ...... $

 

above), until paid in fulll together with interest after maturity at the Annual

Percentage Ftate disclosed above. b- CBSh ~ . -. - - $

To secure such payment, you grant to us a purchase money security interest c. Manufacturer’s Rebate .......... $

under the Uniform Commercial Code in the Co|lateral and in all accessions to and d_ Other( } $

proceeds of the Co|lateral. insurance in which we or our assignee are named as

beneficiary or loss payee, including any proceeds of such insurance or refunds of D°Wn Payment (Add 7a through 7d) $
unearned premiums, or both, are assigned as additional security for this obligation 8. TOTAL DOWN PAYl\/lENT AND

and any Other ObligatiO|"l Created in CO|'ineCtiOl'l With this Sale. We, OL|l' SUCC€:SSOi'S NET THADE_|N ALLOWANCE (Add 6 and 7) _____________ $
and assigns, hereby waive any other security interest or mortgage which would

othenivise secure your obligations under this contract except for the security 9' UNPA|D- BALANCE OF CASH SALES PR|CE
interests and assignments granted by you in this contract. (Subtract 8 from 5) $

10. Plus Optional insurance Charges*
a. Credit Life insurance Premium

Address where Co|lateral will be located:

 

 

 

 

 

 

 

 

Street City Paid to{ )Term { ) $
b. Credit Disability insurance Premium
County State Paid to { )Term ( ) $
Your address after receipt of possession of Co|lateral: C. Debt CanC€||atiOn COVerage (GAP COverage)
Paid to ( ) Term ( ) $
Street City d. Other insurance
Paid to { ) Term ( ) $
County State 11. Other Amounts Financed
NOTiCE OF RESC!SS|ON R|GHTS a.
if buyer signs here, the notice of rescission rights on the reverse side is Paid to ( } ............................ $
applicable to this contract. bq __
Paidror ___) _. .$
Buyer's Signature X 12. TOTAL AMOUNT FlNANCED (Add 9, 10 and 11) $

 

*Seiier may retain or receive a portion of this amount

Co-Buyer`s Signature X
STATE D|SCLOSURE REQU|RE|VIENTS: The provisions of Section B and Section C above are incorporated into this agreement for purposes of state disclosure

requirements
Additional Terms and Conditions: The additional terms and conditions set forth on the reverse side hereof are a part of this contract and are incorporated herein by

reference
OPTlON:

 

You pay no Finance Charge if the Total Amount Financed, item No. 12, Section C, is paid in full on or before the (day) of

(month) of (year).

 

 

sELi_En’s iNiTiAi_s:
SECTiON E: NOTICE TO BUYER

Do not sign this agreement before you read it or if it contains any blank spaces. You are entitled to a completed copy of
this agreement If you fail to perform your obligations under this agreement, the vehicle may be repossessed end you may
be liable for the unpaid indebtedness evidenced by this agreement.

if you are buying a used vehicle with this contract, as indicated in the description of the vehicle above, federal regulation may require a
special buyer’s guide to be displayed on the window.

THE iNFOFii\/iATiON YOU SEE ON THE W|NDOW FOFti'\/i FOR TH|S VEH|CLE iS PART OF THIS COi\iTFtACT. iNFORMAT|ON ON
THE W|NDOW FOFii\/i OVEFtFi|DES ANY CONTFiARY PF=iOV|SiONS |N THE CONTRACT OF SALE.

The text of the preceding two paragraphs is set forth below in Spanish.

Si iisteii ceta comprando mr vehicuic usado mcdiarite este contrato segiiri la descripcit’in del vehicuio arriha, la tey federal yours exigir qua la iientaniila
demuestre tina guia especial para el compratior. l

LA INFURMAL'|UN fil.iE USTE|] VE EN LA FURMA, iJE VEHTAN|LLA PARA ESTE VEH|CULI] ES FAHTE BE ESTE CONTBATD. LA iNFlJHl'riitCifiN fit LA FORMA DE
VENTAN|LLA DUM|||A CUALESUU|EH EST|PULACION CUNTAH|A EN EL CONTHATO DE VENTA.

IUYER AND CO-BUYER ACKNOWLEDGE RECEIPT OF A TRUE AND COMPLETELY FiLi.ED=iN COPY OF THIS CONTRACT
AND THE ABOVE DISCLOSURE AT THE TIME OF SiGNiNG.

LiAB|LiTY iNSUFiANCE COVERAGE FOFi BODILY lNJUFtY AND PROPERTY DAMAGE CAUSED TO OTHERS iS NOT lNCLUDED
UNLESS OTHEFiWiSE iNDiCATED iN SECT|ON C ABOVE.

 

Buyer: X Date: Co-Bi.iyer: x Date:

Date:

 

Creditor:
LAW"’(§GRM iio. 553Nv ma am

2003 Reyimlds unit Reynnlds TC ORDEH; www raysource com; 1-600-344-0996; iaxi-Bii[]»53i»9055
THE PFi|NTEFl MAKES NO WAFiFiANTY, EXPFiESS OFi |MPL|EDl AS TO CONTENT OFi
F|TNESS FOFi PUFiPOSE OF TH|S FOFiM CONSULT VOUR OWN LEGAL COUNSEL

By: x

OR§G!NAL LiENHOLDER

Tit|e: _ _

 

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Simplo interest Contract Thls is a simpie interes. contract The Financs Charge Total of Paymenls anr. lymeni Scljledu|e sei _lorth ir_i the disclosures on the
reverse side may diffei'. The final payment may differ dependin upon the dates symonts are received and events which occur after this contract la made For
example early payments will have the effect of reducing our fina peyment, while la e payments will cause your final paymeni lo be higher Your promise re uires you
to pay the final pa ment on the date duo. which paymon will be equal to ali unpaid sums due linder this contract. even il lhe amount of the final payment ch rs from
the amount of lin payment disclosed on the reverse side hereot. _

Defeuit: if you default in the performance of any of the terms and conditions of this agreemen|, including but not limited lo, making of any pa mont later than 30 days
of when dun, or become insolvent or file any proceeding under U.S. Barll<ruptcy Bode, or upon your oiaiinisel or il the vehicle is damage or sslroyed. we may at our
option and without notice or demand (‘ii declare all un aid sums immediately due and payable 531 life suit against you for all unpsi sums and_ 3) take immediate
possession of the vshicle. Upon takin` possession ot he vehicle and giving notice as provided y law. if you do not redeem the vehicle, we wrl sell il at public or
private sale We may purchase the ven cie at any sais. The proceeds of ihe sale will be applied first to ihs expenses cl relckii\g. reconditionin , storing and selling the
proparty. and the remainder will be applied to the unpaid sums owing under this contract Attomey's fees and court costs are allowed roo. l 1there is any money left
over lsurpius) ii will be paid to ou_ if a balance still remains owing. you promise 'lo pa that balance upon demand lt you default or breach this agreement ii agree
to pay finance charges at the nnuai Porcentags Fiate shown on the reverse side unti ali sums owing us ara paid in fu|l. Our remedies are cumulative en lakln of
any action is not a waiver and does not prohibit us from pursuing any other remedy. You promise to &ay reasonable collection costs end expenses lnolu ing
enomey’s iees. il you default under this agreement ll suit is iiied. ou agree that attorneys fees and cos will be awarded to _lhe prevailing rty. ll the vehicle is
repossessed we may store personal property found in the vehicle r your account and al your expense and il you do not claim property wl hin 90 days after the
repossession we may dispose of the personal property in any manner we deem appropriate without liability to you.

Doiinquen and Collection Charges: You will pay a delinquency charge equal to the osser of $15 or 8 percent of any installment in default for more than 10 days.
if you daiau as described in the preceding parag;aph end we refer this contract for collection ic an attoma whole not our salaried employee or a salaried employee
of the holder ot this contract. you will pay reasons is attomey“s fees plus court costs, and reasonable coilec on costs tuttle extent not proh lied by |aw,

Demand for Full Payment and Additional Remcdies on Detauit: if ou deieult under this comracl. al the time of the dolauil or any lime after default [ii the default
hasn‘t been cured previousiy] we may require immediate payment oil a unpaid portion of the amount you owe us. li there is any money lott over fsl.lrpli_.ls) ii will be
paid to you: On any defaultl we will have all the remedies of a secured party under the Linlform Gommel‘cral Code. lt the cash price on the reverse hereof is $1.000 or
ess, you will not bo personally liable for any deficiency incurred in a sale after repossession

Ownership of the Coilnteral: You re recent that there are no iiens, claims or encumbrances on the Collataral except for the security interest you grant by this
contract to us and you further represe that you have executed no financing statement covering the Co|lateral except for one relating to this contract

Locatlorl and Usa of Collatoml: You agree to notify us in writing of any change of your address or of any change in the location of the Oollatera|. Unless yot_l first
have received our written consentl you may not take ihs Co|lateral cut of the State shown in Sectiori D iri the aeciior‘i entitled "Addross Whore Coilateral Wif| Be
Locatod” and you may not se|l_. lease or otherwise dispose 01 the Co|lateral or any Cpain of it b any means You will comply with all iaws, ordinances regulations and
orders relating to the Co|lateral Ycu will i<eep'the Co|lateral iri good condition an will not a sr or substantially modify ii or conceal ii. You will not allow any other
security interest on the Collatera] besides fha security interest granted to us under this contract.

inspection of the Coiiaterai: We may inspect the Co|lateral at any reasonable time

Talres: You are responsible lor end will pay when due all taxes and assessments levied oil the Co|lateral. ll you fail lo do so‘ we may pay any such tax or assessth
on your beha|f. An amount s usi to that which we paid will be added to the Total of Payment_s then owing end you wm be charged a finance charge on the amount we
paid al the highest lawful con racr rate

Property lnsuranco: You will keep the Co|lateral insured against such risks and in such amount as we may from lime to time reri|"uire with an insurer that you choose
and we approve ns indicated in Suction B, il you choosel we will obtain property insurance for ou at fire remium shown. Whet er the insurance is provided by you
or b us. ou will pay all remiums -‘lor this insurance when the premiums are due and pa able lyon pro de property insurance you will deliver the policies to us as
add tiona security and wil provide us with receipts showin payment of premiums ll ou not obtain the insurance or pay the premiumsl we may do so for you, ll we
do this an amount equal to that which we have paid for o rsmiums will be acid to the Total cl Payments then owing and e finance cha o al the highest lawful
rate will i:ie charged on that amount ll we do not obtain the nsurance. none of our other rights and remedies will be §ra{'udicad. You agree at an proceeds from
insurance are lo be used to either repair or repiace the vel~iicli=.il thther or nor the vehicle is insured you must pay r t if lt la iosl, damaged or sstroyeo. if you
default las described above), we may cancel the insurance and credit any insurance premium refunds to lhe unpaid balance of this contract.

i,.|ilill':ilLi`I`\r INSUHANCE lS T REQU!HED BY THIS CONTRACT. YOU HAVE THE RIGHT TO CHOOSE THE
PERSON THROUGH WHO AB|LITY !NSUFIANCE lS TO BE OBTAINED,

information to insurance Compal'iy or Agant: You give your permission to furnish any informatiol'i about the Co|lateral or any information about insurance policies
on the Coilatel'al to an insurance agent or company

Credit i.ite insurance Credit Disability insurance and Dabt Cancelia!ion Coverage (GAP Covarsge): ii you indicated in Section B that you want optional credit
life insurancel credit disability insurance or debt cancellation coverage (GAP coverage). or any com ination thereot. you agree to pay tor such insurance at the
premium shown irl Saction El.

NO WARRANT!ES: SELL,ER MAKES NO REPHESENTA“E'§ONS, PR®M!SES QR WARl?!lii'\lT‘EESs EXPHESS QR iMPLiElP, AS TQ THE
MERCHANTABlLlTY OF THE CGLLATERAL OFt WHETHER THE COLLATERAL tS Si.ll"l'ABLE OR FET FC;H THE PAHTECULAR PURPGSE
iN.TENDE[J UNLESS SELLER HAS D©NE 50 iN THIS C£JNTRAC? Q.Fi iN A SEPARATE WRETTEN AGREEMENT SiGNED BV i.iS AS
GR!G!NAL SELLER OF THE CDLLATEP;AL. HGWEVER, iF SELLER MAKES AN EXPRESS WARRANW iN THES CONTRAQT OR iii A
SEPARATE WRETTEN AGREEMENT SEGNED BY SELLER OR, WiTHlN 96 DAYS AFTEFt THE DATE OF THES QONTRACT, ENTERS it\l“i@ A
SEF§VECE CON'!"RACT WiTi-l THE BUYER TH.AT APPLEES T© THE :C©LLATERAL, THE EXCLUSEON DF iMPi_iED WARRAN`l`lES SE'i‘
FOFl"i'l-i iN THES PARAGRAPH DOES NOT EXC;LUDE ANY' iMPi,,iED WARRANT!ES THAT MAY E)(.lS"li" WiTi-i RESPEQT °l"© THE
CDLLATERAL DURENG THE TERM ()F THE CONTRACT GR AGREEMENT iN Wl~iiCi-l THE EXPRESS WAHBANTV 53 MADE.
Notices: Any notice we have to give you pursuant to the l_iriiforrn Commerciai Code will be reasonable if we send ii to your address shown in Section D in the section
entitled "Your Address After Fteceipt of Possessicn of Co|lateral“ at least 5 days before the event with respect to which notice is required
’i’irrle is of the Essence: You understand that all payments that are required must be made on the day due_
Exercisin our Fiights: We Can, without notice delay enforcing our rights or exercise only part of themy without losing them., or waive a right we have to one Buyer
without w ving it as to the cthsr[s).
Meanln of Words: in lhis contract the words "you" and " our" means each and all those who sign this contract as Bu ors or Co-Bu ers, and their heirs, executors
admini rators. successors and assigns The words “we.“ us" and "ours" means the Creditor shown on the reverse in action A, an if this contract is assigned its
successors and assigns and any other holder of this contract.
Governing l..aw: This contract has been delivered in the State of Creditors place of business and will be governed by the laws of that State and applicable federal law,
lrivalidlty: Wherever possible each provision of this contract shall be lntarpreled so that il is valid under applicable law. but ii any provision is prohibited or invalid the
remaining provisions of this contract will continue to be valid -
Notioe of Ftssciaslon Flights: The provisions of this paragraph only apply il you have signed the notice of rescission rights on the face of the contract (t) Yqu agree to
furnish the Solier any documentation necessary to verify in ormation contained in your credit application (2] You acknowledge that it may take a few cia s for the Seller
to verify your credit and assign the contract. |n consideration of the Ss|isr a racing to deliver the vehicle, you agree that if the Seiior is unable to assign t o conlract to a
financial institution with vidiom the Seller re larly does business pursuant o terms of assignment acco able to this Se|ler. lite Se|lsr may elect l.o rescind the contract.
{3} ll the Ssiler elects to rescind the contra , the Seller shail, within 15 days after the date of the contrac , give you notice of the rescission Such notice shall be deemed
iven upon depos'n ot a written notice in the United Statos mall directed to you el the address you stated in the contract or upon an other manner in which actual notice
s given to you Upon receipt of such noticel you shall immediately return the vehicle to line Bolier in the same condition as on scid, reasonable wear and tear
excepted and the contract shall be deemed rescinded The Seller agrees upon rescission ot the contract fo restore to you all consideration received in connection with
the contract. including an trade-in vehicle {4} lt the vehicle is not immediately returned to the Seiler utter glvln notice of the Ssilei‘s election lo rescind the contract.
you are liable to the Seiur for all expenses incurred by fhc Snller in obtaining possession of inc vehicle, including attorneys tees, end the Sol|er has tile right lo
repossess the vehicle as permitted by iaw. {5) While the vehicle is in your possession all terms of the contract including those related to the use of the vehicle and
insurance tci the vehicle are in force and all risk of loss or damage to the wanicle must be assumed b ou. You shall immediately pay all reasonable repair costs
related to any damage to rhe vehicle while ll is in your possession or under your control and until tile veiiic e s returned to the Seilor.
NOTEQE: ANY Hi;iLDEH QF THlS CFDNSUMEH CBEDET QONTRACT i$ SUBJECT TO ALL CLAiiViS AND
i)El=ENSE;S WHECH THE DEBVOF{ QQULD ASSERi A_GAENST THE SELLER OF G@ODS OR $E:l"~i;ir'iCES
OBTAiNED PUHSUANT HERETO OFi WlTH `f";i-iE PROCEEDS i~lEi=iEiC)l`-”'k RECOi/EHY HEREUNDER BY THE
DEBTOR SHALL NOT EX_CEED AMOUNTS PAiD BY THE DEBTOR HEREUNDER
it you are buyi.i'lg a used vehicle With this contract as indicated in the description of the vehicle on the reverse side
iederai regulation may require a special buyers guide to be displayed on the window
THE lNFORMATiON YOU SEE ON THE WINDOW FORh/i FQR THES VEHiCLE if>`i PART i:)i;' THES t.`;i)l'\l*`i'l'iA.l§,`,!i'°q
iNFQFEMAT|ON ON THE WINDOW FORM OVERRlDE$;`: ANY GQNTRARY PROV§SIONS ibt THE C(')NTRACT OF' Rdl iii

 

ole-imre"urr; any damage io’ihe¢vohiclevvh'lie'ii is inly'our possession ora under yourcontrol and until the_vehiole is returned lto the Sa|ier n w ’ -" l '
rlo~ijtce,< Aanasebaa-svi®d@lilt-Jeoti@lllthle@mnracam cenmao®?»rt?aroems monell claims AND
BEFENSES WHiCl-i THE DEBTC COULD ASSERT AGAlNST THE LLEi-`t OF GOODS ©i`=t SERVlCES
OB"lAlNED PUHSUANT HERETO OR WlTH THE PR©CEEDS HEREOF; HECOV`ER`Y HEREUNDEH BY THE
UEBTOR SHALL N@'l‘ EXCEED AMOUNTS PAiD BY THE DEBTOR i-ilEl'@tEi.it\i[)i£§Rg

ll you are buying a used vehicle with this contract. as indicated in the description ct the vehicle on the reverse aider
iscleral regulation may require a Special buyers guide to be displayed on the window

THE lNFOFtMATlON `YOU SEE ON THE WlNDOW FDRM FOR THlS VEHlCLE lS PAFtT OF THIS CONTRACT.,
iNFOFtMATlON ON THE WlNDOW FORM OVERFtiDES ANY CONTHARY PROV!S|ONS il\l THE CONTRACT OF SALE=

Assigrrment: For value received Se|ler sellsI assigns. and transfers to y _ (Assignse]_
its successors and asst ns, the entire righr, .title_and interest of Sellar irr the contract contained herein includingé but not limited toy ali amounts payable to Buyer end
security interest in the oilateral. To induce Assignee to purchase the contract. Sel|er represents and warrants Assignee as followe: (a the contract is genu ne end
the statements and amounts inserted herein are correct; ll.'r) the contract and security interest arose ar'rtireiy from the sale of the Collarer or services described in the
contract. or botti; tel the down payment ri any be shown on the lace l'rereot, has been received and no pen thereof was advanced directly or indirectly by Sellei to
Bu er. sd) lhs goods and services have been urnished to the satisfaction ct Buyer and all obligations of warranty to Buyer_ either express or im lied, have been and
wi| con inue to be luli“llled by Se|ler; [e] the Co|lateral or senricesl or both_ have been so|d, rovided and delivered to and accepted by Bua‘er; ij the security interest

rented to Sel_ler' in the contract constitutes a valid first lien on the Coliateral and has been lied or recorded according to law to preserve e p 0 bleach |iert, }

a Coilateral 1rs tree and clear of all liens and encumbrances except the security interest rented by this contract ibt the full amount of the stated ota| ot Pa men
remains unpard,' (i) Seller is the holder oi the contract another security interest in the Colla eral free and clear of ali lens and encumbrances and Seller has _lu| power
and authors to assign the same; (j} the transaction was consummated on the above date set iorih in the contract and Buyer did not receive “ ron of the
Collateral pr or to the date _of consummation; _lk} Buyer was furnished a completed copy of the contract n`or to oonsummation', (i) the Goliatere ls insured with a
company acceptable to Assrgnae against phy§rca| damage in addition to such other risks as Assrgnee reqt_r res under_an insurance policy acceptable to Asslgnce'. [m)
Seller has not knowingly communicated to signee incorrect information relating to the Buyei“s application or credit statement or knowingly failed to communicate
information relating to such application or credit statement lui the facts ssi forth ln the contract are true; {o) Buye_r has no defense or counterclaim to payment of the
obligation evidenced by the contract; (p} Buyer is or, ii more than one, each is note minor and has legal capacity to execute this contract and is liable thereon; and (q)
Sei|er has no reason to believe the Buyer has ever violated any laws conoeming liquor or narcotics

ln the event any warranty shall be breached or any representation shall be felse, Sel|er sha||. upon demand and irrespective of whether the contract is then in defau|t.
repurchase the contract from Assignee at a price equal to the unpaid balance of the contract plus accrued interestl or such other amount §§re_ed to by Se|ler and
Msignee in a separate agreement as in effect on the date of such demand b Assignee, plus any costs or expenses cl cof|ectton, including oi'ney's fees. whether
incurred b assignee by suit or on appeal or otherwise Seller waives all efenses that otherwise mi ht have been available but nothing herein contained shall
preclude ‘igriee from enloroingBagalnsi Se|ter any other remedies provided by lew_ for mrsiepBresenia 'on or breach of warren . ln the event of any proceedings
commenced by Assl rise a ainst _uyer with respect to the contractr services ortho Co|laten':rll if u er asser as a defiancel set_o or counterclaim any act-, omission
or default by Setler, eller s all forthwth on demand repurchase the contract tor the amount set to above. l`he provisions ct this assignment shall be binding on the
heirs. representatives successors and asst ns cf Seller end shall inure the benefit ol the successors end assigns of Assignee, `i‘he above assignment provisions
apply end are rn addition lo any obligations Seller as provided iri the paragraph below endorsed by Se|ler.

i, HECOUHSE: Seller absolutely and unconditionally guarantees the prompt payment of either the total unpaid amount of the contract and any accrued interest cr
such other amount agreed to by Sel|er and Assignee in a separate agreementt together with all costsl ex?enees an_d reasonable attorneys fees incurred in the
collection of said amount Seller waives all defenses arising by reason of any failure to give notice of accep once of this guaranty or default of Buyer, or arising by
reason of any extension of time iven to Buyer, or by reason of- any failure by Assignee to pursue Euyer or the Co|lateral or other property of Buyer or to resort to other
security or remedies which may availab|e. and waives any and all defenses arising out of the guarantor relationship

Seller: By:
Title: Date:

2. REPURCHASE: in the event of default by the Buyer under any of the terms or conditions of the contract, Sei|er Wlll repossess and repurchase the Co|lateral, or if
the Co|lateral has already been repossessed, Sellar will repurchase the Coilateral at the place of repossession or recovery The Co|lateral will be repurchased in any
event AS lS. at a price equal to the then unpaid balance ol' the contract and any accrued interest, or such other amount agreed to by Selier and Aseignee in a
separate agreement as in effect as ot the deiautt, t ether with all costs. expenses and reasonable attorneys fees incurred by Assignee in the collection ot said
arr'ror.iriil Sel|er waives ali defenses arising by reason any failure to give notice of subsistence of this agreement or default o`f Buyer, or arising by reason of extension
of time given to Euyer, or by reason of any failure by Assigriee to_ pursue Buyer or the bilateral or other property ot Buyer or to resort -io other security or remedies
which may be availablel and waives all other defenses that might otherwise have been available At the time ot repurchase Seller shall pay to Assignee the purchase
price ln cash and Assi nee may reassig|n to Se|ier without recourse and without warranties express or implied, all title retention or lien instruments and all contracts or
promissory notes whi Assignee then olds upon sut:h Co|lateral.

Se||er: By:
Tit|e: Date:

 

 

 

 

 

3. LIMITED ENDORSEMENT: in the event of default of Buyer before Buyer shall have paid the first __"__._.____o_insta||ments under the foregoing
contract. Assignee may reassign the contract to Seller and Sel|er agrees'. upon tender'ci such reassignment and in consideration thereof to pay to Assignee' either the
then unpaid balance of the-contract and any accrued lnterest, or such other amount agreed to by Se|ler and Assignee lrr a separate agreement as in effect as of the
reassignment together with all costs. expenses and reasonable attomey's toes incurred in the collection oi said amount. Seller waives all defenses arising by reason
of any failure to give notice of acceptance of this agreement or default of Buyer_ or arising by reason of any extension of time given to Buyer, or by reason of any
failure by Assignee to pursue Buyer or the Co|lateral or other property of Buyer or to resort to other security or remedies which may bc available and Se|ler waives
any other defenses that might otherwise have been availablel

 

 

 

 

Se||er: By:

Title: Date:

4. WlTHOUT RECOUF!SE: This assignment shall be without recourse against Seller except for such obligations as are set forth in the assignment abovel
Seller: By:

Title: Date:

 

 

Form No. 553»i\l\/‘ (2/03)

 

